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                 FACEBOOK, INC.
           12

           13                                  UNITED STATES DISTRICT COURT

           14                               NORTHERN DISTRICT OF CALIFORNIA

           15                                        OAKLAND DIVISON

           16    MATTHEW CAMPBELL and MICHAEL                     Case No. C 13-05996 PJH
                 HURLEY, on behalf of themselves and all others   Case No. C 14-00307 PJH
           17    similarly situated,
                                                                  CLASS ACTION
           18                         Plaintiffs,
                                                                  STIPULATION AND [PROPOSED]
           19           v.                                        ORDER REGARDING PLAINTIFFS’
                                                                  FILING OF CONSOLIDATED AMENDED
           20    FACEBOOK, INC.,                                  COMPLAINT AND RELATED CASE
                                                                  DEADLINES
           21                         Defendant.
                                                                  The Honorable Phyllis J. Hamilton
           22
                 DAVID SHADPOUR, Individually and on
           23    Behalf of All Others Similarly Situated,
           24                         Plaintiffs,
           25           v.
           26    FACEBOOK, INC.,
           27                         Defendant.
           28

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Crutcher LLP     STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ FILING OF CONSOLIDATED AMENDED
                 COMPLAINT AND RELATED CASE DEADLINES, Case Nos. C 13-05996 PJH and 14-00307 PJH
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            1           WHEREAS, on December 30, 2013, Plaintiffs Matthew Campbell and Michael Hurley filed
            2    their Complaint in Case No. C 13-05996 PJH (Campbell Dkt. No. 1) (“Campbell”);
            3           WHEREAS, on January 21, 2014, Plaintiff David Shadpour filed his Complaint in Case No.
            4    C 14-00307 PSG (now Case No. C 14-00307 PJH) (Shadpour Dkt. No. 1) (“Shadpour”);
            5           WHEREAS, on February 3, 2014, this Court related the Campbell and Shadpour actions
            6    (Campbell Dkt. No. 15; Shadpour Dkt. No. 8);
            7           WHEREAS, Defendant Facebook, Inc.’s (“Facebook”) current deadline to respond to the
            8    Campbell Complaint is March 14, 2014 (Campbell Dkt. No. 13);
            9           WHEREAS, Facebook’s current deadline to respond to the Shadpour Complaint is March 28,
           10    2014 (Shadpour Dkt. No. 7);
           11           WHEREAS, the Plaintiffs in Campbell (Matthew Campbell and Michael Hurley) and the
           12    Plaintiff in Shadpour (David Shadpour) are referred to herein collectively as “Plaintiffs”;
           13           WHEREAS, Plaintiffs intend to jointly file a motion to consolidate Campbell and Shadpour
           14    and to appoint interim class counsel pursuant to Fed. R. Civ. P. 23(g) by March 21, 2014;
           15           WHEREAS, Plaintiffs intend to file a Consolidated Amended Complaint, which will
           16    supersede Plaintiffs’ existing Complaints in the Campbell and Shadpour actions, within 30 days of
           17    this Court’s order on Plaintiffs’ motion to consolidate Campbell and Shadpour and to appoint interim
           18    class counsel;
           19           WHEREAS, this Court previously scheduled an Initial Case Management Conference for the
           20    Campbell and Shadpour actions for April 3, 2014 at 2:00 p.m., with certain deadlines preceding the
           21    Case Management Conference as set forth in Campbell Dkt. No. 4 and Shadpour Dkt. No. 11: Meet
           22    and confer regarding initial disclosures, early settlement, ADR selection process, discovery plan, and
           23    ADR filings (March 13, 2014 – three weeks before the CMC) and the filing of a case management
           24    statement (March 27, 2014 – one week before the CMC);
           25           WHEREAS, in order to streamline the management of this case and maximize efficiency, the
           26    parties have conferred and agreed to stipulate to the deadlines for (1) Plaintiffs’ filing of their motion
           27    to consolidate Campbell and Shadpour and to appoint interim class counsel, (2) Plaintiffs’ filing of
           28    their Consolidated Amended Complaint, and (3) Facebook’s response to the Consolidated Amended
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            1    Complaint; and
            2           WHEREAS, the parties also have conferred and agreed that the April 3, 2014 Case
            3    Management Conference and the deadlines that precede it should be continued to a future date after
            4    Plaintiffs have filed their Consolidated Amended Complaint.
            5           THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between counsel, and
            6    subject to the approval of this Court, that:
            7           1.      Plaintiffs shall jointly file a motion to consolidate Campbell and Shadpour and to
            8                   appoint interim class counsel pursuant to Fed. R. Civ. P. 23(g) by March 21, 2014;
            9           2.      Plaintiffs shall file their Consolidated Amended Complaint within thirty (30) days of
           10                   this Court’s order on Plaintiffs’ motion to consolidate Campbell and Shadpour and to
           11                   appoint interim class counsel;
           12           3.      Facebook shall have forty-five (45) days from the date Plaintiffs file their
           13                   Consolidated Amended Complaint to answer or otherwise respond to the Complaint;
           14           4.      The March 14, 2014 deadline for Facebook to respond to the Campbell complaint and
           15                   the March 28, 2014 deadline for Facebook to respond to the Shadpour complaint are
           16                   vacated; and
           17           5.      The April 3, 2014 Initial Case Management Conference and the dates that precede it
           18                   (as set forth in Campbell Dkt. No. 4 and Shadpour Dkt. No. 11) are continued to future
           19                   dates. If Facebook files a motion to dismiss and/or strike Plaintiffs’ Consolidated
           20                   Amended Complaint, the Case Management Conference shall be on the same date as
           21                   the hearing on Facebook’s motion. Additionally, the pre-CMC deadlines set forth in
           22                   Campbell Dkt. No. 4 and Shadpour Dkt. No. 11 are continued as follows: The
           23                   existing March 13 deadlines are continued to 3 weeks before the date of the continued
           24                   Case Management Conference, and the existing March 27 deadlines are continued to 1
           25                   week before the date of the continued Case Management Conference.
           26
                                                                 Respectfully submitted,
           27

           28    DATED: March 6, 2014                            GIBSON, DUNN & CRUTCHER LLP
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                                                          (Case No. C 14-00307 PJH)
           15

           16
                 DATED: March 6, 2014                     LIEFF CABRASER HEIMANN & BERNSTEIN
           17

           18
                                                          By:                 /s/
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                       Case 4:14-cv-00307-PJH Document 12 Filed 03/06/14 Page 5 of 7


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            9                                             MICHAEL HURLEY

           10                                             (Case No. C 13-05996 PJH)

           11

           12    DATED: March 6, 2014                     TOSTRUD LAW GROUP, P.C.

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                                                          By:                   /s/
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           28                                             Attorneys for Plaintiff DAVID SHADPOUR
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Crutcher LLP     STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ FILING OF CONSOLIDATED AMENDED
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            1                                      ATTORNEY ATTESTATION
            2           Pursuant to Civil Local Rule 5-1, I, Joshua A. Jessen, hereby attest that concurrence in the
            3    filing of this document has been obtained from Michael W. Sobol and Jon A. Tostrud.
            4

            5    DATED: March 6, 2014                         GIBSON, DUNN & CRUTCHER LLP
            6

            7                                                 By:                 /s/
                                                                             JOSHUA A. JESSEN
            8
                                                              Attorneys for Defendant FACEBOOK, INC.
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            1                                         [PROPOSED] ORDER
            2          Having considered the parties’ Stipulation, and good cause appearing, the Court hereby
            3    GRANTS the parties’ Stipulation. It is HEREBY ORDERED that:
            4          1.     Plaintiffs shall jointly file a motion to consolidate Campbell and Shadpour and to
            5                 appoint interim class counsel pursuant to Fed. R. Civ. P. 23(g) by March 21, 2014;
            6          2.     Plaintiffs shall file their Consolidated Amended Complaint within thirty (30) days of
            7                 this Court’s order on Plaintiffs’ motion to consolidate Campbell and Shadpour and to
            8                 appoint interim class counsel;
            9          3.     Facebook shall have forty-five (45) days from the date Plaintiffs file their
           10                 Consolidated Amended Complaint to answer or otherwise respond to the Complaint;
           11          4.     The March 14, 2014 deadline for Facebook to respond to the Campbell complaint and
           12                 the March 28, 2014 deadline for Facebook to respond to the Shadpour complaint are
           13                 vacated; and
           14          5.     The April 3, 2014 Initial Case Management Conference and the dates that precede it
           15                 (as set forth in Campbell Dkt. No. 4 and Shadpour Dkt. No. 11) are continued to future
           16                 dates. If Facebook files a motion to dismiss and/or strike Plaintiffs’ Consolidated
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           18                 the hearing on Facebook’s motion. Additionally, the pre-CMC deadlines set forth in
           19                 Campbell Dkt. No. 4 and Shadpour Dkt. No. 11 are continued as follows: The
           20                 existing March 13 deadlines are continued to 3 weeks before the date of the continued
           21                 Case Management Conference, and the existing March 27 deadlines are continued to 1
           22                 week before the date of the continued Case Management Conference.
           23          PURSUANT TO STIPULATION, IT IS SO ORDERED.
           24

           25    DATED: __________________________                    ______________________________________
                                                                            The Honorable Phyllis J. Hamilton
           26
                                                                            United States District Court Judge
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Crutcher LLP     STIPULATION AND [PROPOSED] ORDER REGARDING PLAINTIFFS’ FILING OF CONSOLIDATED AMENDED
                 COMPLAINT AND RELATED CASE DEADLINES, Case Nos. C 13-05996 PJH and 14-00307 PJH
